Case 1:19-cv-12158-ADB Document 24-1 Filed 05/19/20 Page 1 of 25~ / OR

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Vitis $

LAW DEPARTMENT
W DEPARTMENT August 14, 2018

Via Certified Mail Return Receipt Requested: 7011 1570 0001 2020 7552 >

Mayor Martin J. Walsh

1 City Hall Square

Suite 500

Boston, MA 02201-2013

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RE: Notice of Massachusetts Tort Claim pursuant to G.L. c. 258, § 4 on behalf of
Gregory Firmin

Dear Mayor Walsh:

This office represents Gregory Firmin, whose address is 14 Blue Hills Parkway,
Milton, Massachusetts 02186. On December 1, 2017 at approximately 11:15 p.m., Mr.
Firmin, a young African American man, was driving northbound on Blue Hill Avenue
returning home from his work as a software engineer. He was driving at the speed limit,
and was not committing any traffic or moving violations. Suddenly at the corner of Talbot
Avenue numerous police vehicles suddenly blocked his way and ordered him to get out of
the car. After getting out of his car, the officers threw Mr. Firmin to the ground and stomped
on his neck. As a result of the officers’ brutal physical assault, Mr. Firmin suffered
significant injury of body and mind, including a broken bone in his neck. During the entire
incident, Mr. Firman was fully compliant with the officers’ instructions and presented no
cause for a brutal take-down.

According to the police report, the police acted because an unidentified person
whom the police did not know and whose phone number they apparently did not record,
called to say that a person driving a black Ford had been following them with a firearm.
While Mr. Firmin was pinned to the ground with the officers’ feet on his neck, they
searched his car and found no firearm. They then released him. Mr. Firman was brutally
treated and seriously injured by the police action. He was also emotionally traumatized by
the random stop and being thrown to the ground and beaten.

We have Mr. Firmin’s medical records and bills and will provide them to you upon

request. We would prefer to resolve this case in an amicable manner and look forward to
hearing from you.
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Please respond to this demand at your earliest convenience. If we have not received
a response within six (6) months from the date of this occurrence, we will file the
appropriate civil complaint on behalf of our client.

Thank you for your attention to this matter.

Very Truly Yours, | A

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Co-counsel, Paul M. Glickman
Glickman LLC

One South Market Bldg., 4" Floor
Baston, MA 02109
medéglickmanile.com
(617) 399-7770

    

CC: Via Certified Mail Return Receipt Requested:

7011 1370 O001 2020 7569

William Gross, Boston Police Commissioner
One Schroeder Plaza

Roxbury Crossing, MA 02120

7011 1570 0001 2020 7576
Maureen Feeney

City Clerk for the City of Boston
1 City Hall Square Room 601
Boston MA 02201
